          Case 7:20-cr-00386-NSR Document 55 Filed 03/08/22 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,                             )
                                                      )
v.                                                    )       Case No.: 20-CR-386 NSR
                                                      )
NICOLAUS WYNBERG,                                     )
                               Defendant.             )



                    NOTICE OF FILING OF OFFICIAL TRANSCRIPT


       Notice is hereby given that an official transcript of a SENTENCING held on FEBRUARY
10, 2022, has been filed by the court reporter/transcriber in the above-captioned matter.

       Redaction responsibilities apply to the attorneys of record or pro se parties, even if the
person requesting the transcript is a judge or a member of the public or media.

        The parties have seven (7) calendar days from the date of filing of this NOTICE to file
with the court any NOTICE OF INTENT TO REQUEST REDACTION of this transcript. A
copy of said NOTICE must also be served on the court reporter. If no such NOTICE is filed, the
transcript may be made remotely electronically available to the public without redaction after
ninety (90) calendar days.

       This process may only be used to redact the following personal data identifiers: Social-
Security numbers; dates of birth; minors’ names; and financial account numbers. See Federal
Rule of Civil Procedure 5.2, and Federal Rule of Criminal Procedure 49.1. Parties wishing to
request redaction of other information may proceed by motion.


                                                              S/Darby Ginsberg
                                                              Darby Ginsberg, RPR
                                                              Court Reporter
Date: March 8, 2022
